     CASE 0:05-cr-00282-MJD-JJG       Doc. 136-1     Filed 09/29/05   Page 1 of 2




                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                  Plaintiff,


v.                                      ORDER
                                        Criminal File No. 05-282 (MJD/SRN)

(1) CHRISTOPHER WILLIAM SMITH,

               Defendant.
________________________________________________________________

      The Court imposes the following pretrial conditions on Defendant

Christopher William Smith.

      IT IS HEREBY ORDERED that:

      1.    The conditions of the Preliminary Injunction filed in Civil File No. 5-
            895 (MJD/FLN) [Docket No. 27] remain in full effect.

      2.    Defendant Christopher William Smith is prohibited from

            a.    Using, accessing, creating, developing, or modifying, or acting
                  through a third-party to indirectly use, access, create, develop,
                  or modify, any on-line computer service, including but not
                  limited to, Internet service, bulletin board system, email, or any
                  other public or private computer network;

            b.    Using, accessing, creating, developing, or modifying, or acting
                  through a third-party to indirectly use, access, create, develop,
                  or modify, any website; and

            c.    Using or possessing any equipment that can be used to access
                  any on-line computer service, including but not limited to,
                  Internet service, bulletin board system, email, or any other
    CASE 0:05-cr-00282-MJD-JJG       Doc. 136-1    Filed 09/29/05    Page 2 of 2




                 public or private computer network. Prohibited equipment
                 includes, but is not limited to, cellular telephones, computers,
                 wireless handheld devices, handheld computers, and personal
                 digital assistants (“PDAs”).

     3.    Smith shall avoid all contact with the following persons, who are
           considered either alleged victims or potential witnesses: Steve and
           Sara Loos and Cassandra Kerr.

     4.    Smith shall undergo medical or psychiatric treatment as follows: A
           list of all doctors and all medical releases are to be turned over to
           Pretrial Services.

     5.    Smith shall continue on his prescription medication as approved by
           Pretrial Services.

     6.    Smith shall not threaten or harm his wife, her family, or their
           children.

     7.    Smith shall obtain no passport.




Dated: September 29, 2005                    s/ Michael J. Davis
                                             Judge Michael J. Davis
                                             United States District Court
